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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.4
                               Eastern Division

Sharon Robinson, et al.
                                       Plaintiff,
v.                                                       Case No.: 1:19−cv−00395
                                                         Honorable Martha M. Pacold
Chicago State University, et al.
                                       Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, March 1, 2022:


        MINUTE entry before the Honorable Sunil R. Harjani: Motion hearing held by
telephone. For the reasons stated on the record, Defendant's Motion to Stay discovery [99]
is granted. In light of Defendants' Motion for Clarification [96] pending before the district
court, discovery is stayed until 3/31/2022. As discussed, the parties are directed to meet
and confer in an attempt to reach an agreement as to what discovery can go forward if a
ruling on the motion for clarification has not been issued by the next status hearing. By
4/6/2022, parties shall file a joint status report describing the results of the meet and
confer, including an outline of agreement reached. Mailed notice(lxs, )




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